
962 So.2d 442 (2007)
SOUTHGATE RESIDENTIAL TOWERS, LLC and Southgate Penthouse, LLC
v.
MAPP CONSTRUCTION, INC., Mapp Construction, LLC, Michael A. Polito, M &amp; R Drywall, Inc., M &amp; R Stucco, Inc., Power Design, Inc., Travelers Casualty and Surety Company of America, Westfield Insurance Company of *443 America, Crum &amp; Forrester Specialty Insurance Company, Scottsdale Insurance Company, Bituminous Fire and Marine Insurance Company, National Union Fire Insurance Company, Indian Harbor Insurance and XYZ Insurance Company.
No. 2007-CC-1571.
Supreme Court of Louisiana.
August 31, 2007.
In re Southgate Residential Towers LLC et al.; Southgate Penthouses LLC;  Plaintiff(s); Applying for Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. D, No. 550,534; to the Court of Appeal, First Circuit, No. 2007 CW 0489.
Stay denied. Writ denied.
